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      REQUESTED BY:            MANZANARES, ROBERTO
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            DEPARTMENT OF HOMELAND SECURITY                                          TECS ACCESS CODE 3
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   R E P O R T           OF      I N V E S T I G A T I O N
                                                                                      CASE NUMBER MI02PR07MI0018

    T I T L E : TEODORO NGUEMA OBIANG, ET. AL O F F I C I A L S EQUATORIAL GUINEA

    CASE STATUS:               INTERIM RPT

    REPORT DATE                     DATE ASSIGNED                       PROGRAM CODE                       REPORT NO.
      082112                            111506                              YAI .                             091

      RELATED CASE NUMBERS:

      COLLATERAL REQ

      TYPE OF REPORT:
     I N I T I A L SOURCE DOCUMENT/              INVESTIGATIVE FINDINGS
                                 I
TOPIC: INTERVIEW OF GREMAN PEDRO TOMO

       SYNOPSIS:
On November 13, 2006, Agents a s s i g n e d t o t h e Homeland S e c u r i t y I n v e s t i g a t i o n
(HSI) F o r e i g n C o r r u p t i o n I n v e s t i g a t i o n s Group i n i t i a t e d a c r i m i n a l i n q u i r y
i n t o t h e f i n a n c i a l a c t i v i t i e s o f M i n i s t e r Teodoro Nguema OBIANG ( M i n i s t e r
OBIANG). I t i s a l l e g e d t h a t M i n i s t e r OBIANG i s d i v e r t i n g funds a l l o c a t e d t o
t h e government o f E q u a t o r i a l Guinea (EG) f o r h i s own p e r s o n a l u s e . M i n i s t e r
OBIANG i s c u r r e n t l y t h e M i n i s t e r of A g r i c u l t u r e a n d F o r e s t r y i n EG.

HSI i s i n v e s t i g a t i n g M i n i s t e r OBIANG f o r money l a u n d e r i n g s t a t u t e s . OBIANG
p u r c h a s e d a mansion v a l u e d a t $32 m i l l i o n d o l l a r s d e s p i t e h a v i n g a r e p o r t e d
government s a l a r y o f $60,000 a n n u a l l y . A d d i t i o n a l l y , he p u r c h a s e d an a i r c r a f t
f o r $3 8 m i l l i o n d o l l a r s . M i n i s t e r OBIANG a s s e r t s h i s w e a l t h i s the r e s u l t o f
h i s p r i v a t e b u s i n e s s e s w h i c h a r e i n v o l v e d i n l u m b e r a n d r o a d c o n s t r u c t i o n . EG
o f f i c i a l s a r e p u r p o r t e d l y p e r m i t t e d t o engage i n p r i v a t e b u s i n e s s e s and
a u t h o r i z e d t o have government c o n t r a c t s a s l o n g a s t h e o f f i c i a l i s n ' t
i n v o l v e d i n t h e "day t o day" o p e r a t i o n s o r management o f t h e b u s i n e s s .

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             C O N T             I N U A T I O N                       REPORT NUMBER: 091


 CASE PROGRAM CODES:

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DETAILS OF INVESTIGATION:

On November 13, 2006, Agents a s s i g n e d t o t h e Homeland S e c u r i t y I n v e s t i g a t i o n
 (HSI) F o r e i g n C o r r u p t i o n I n v e s t i g a t i o n s Group i n i t i a t e d a c r i m i n a l i n q u i r y
r e g a r d i n g t h e f i n a n c i a l a c t i v i t i e s of M i n i s t e r Teodoro Nguema OBIANG
 ( M i n i s t e r OBIANG) . I t i s a l l e g e d t h a t M i n i s t e r OBIANG i s d i v e r t i n g funds
a l l o c a t e d t o t h e government o f E q u a t o r i a l G u i n e a (EG) f o r h i s own p e r s o n a l
u s e . M i n i s t e r OBIANG i s c u r r e n t l y t h e M i n i s t e r o f A g r i c u l t u r e and F o r e s t r y
i n EG and i s t h e son o f t h e d i c t a t o r .

HSI i s i n v e s t i g a t i n g M i n i s t e r OBIANG f o r v i o l a t i o n o f money l a u n d e r i n g
s t a t u t e s . OBIANG p u r c h a s e d a B e v e r l y H i l l s mansion v a l u e d a t $30 m i l l i o n
d o l l a r s d e s p i t e h a v i n g a r e p o r t e d government s a l a r y o f $60,000 a n n u a l l y .
A d d i t i o n a l l y , he p u r c h a s e d a G u l f s t r e a m a i r c r a f t f o r $38 m i l l i o n d o l l a r s .
M i n i s t e r OBIANG a s s e r t s h i s w e a l t h i s t h e r e s u l t o f h i s p r i v a t e b u s i n e s s e s
w h i c h a r e i n v o l v e d i n lumber and road c o n s t r u c t i o n . I n EG o f f i c i a l s a r e
p e r m i t t e d t o engage i n p r i v a t e b u s i n e s s e s a n d a u t h o r i z e d t o have government
c o n t r a c t s a s long as the o f f i c i a l involved i s n ? t a c t i v e l y involved i n t h e
"day t o day" o p e r a t i o n s o r management o f t h e b u s i n e s s .

On June 7 and 8, 2012, German Pedro TOMO was i n t e r v i e w e d t e l e p h o n i c a l l y , by
HSI s p e c i a l a g e n t s , R o b e r t Manzanares and D a n i e l F l o r e s . A d d i t i o n a l l y , U.S.
Department o f J u s t i c e , (DOJ) C r i m i n a l D i v i s i o n A s s e t F o r f e i t u r e & Money
L a u n d e r i n g a t t o r n e y , Woo L e e p a r t i c i p a t e d i n t h e i n t e r v i e w . Agent F l o r e s
s e r v e d a s a t r a n s l a t o r from E n g l i s h t o S p a n i s h . A t t h e time o f t h e i n t e r v i e w ,
TOMO was i n Madrid, S p a i n .
A f t e r b e i n g a p p r i s e d o f t h e n a t u r e of t h e i n v e s t i g a t i o n , TOMO a g r e e d t o be
i n t e r v i e w e d . I t was e x p l a i n e d t o TOMO t h a t t h e U.S. government h a s f i l e d two
s e p a r a t e c i v i l f o r f e i t u r e a c t i o n s i n s i s t i n g t h a t t h e a s s e t s owned by M i n i s t e r
OBIANG were o b t a i n e d by money w h i c h he o b t a i n e d i l l e g a l l y .

TOMO s t a t e d t h a t he owned and o p e r a t e d a f o r e s t r y named TROMAD FORESTAL and a
r o a d c o n s t r u c t i o n b u s i n e s s name TROMAD SA CONSTRUCIONES Y OBRAS i n EG d u r i n g
sometime i n 2007. A d d i t i o n a l l y , TOMO h a d a p o s i t i o n w i t h i n the EG P a r l i a m e n t
                                                                            1
and was a n outspoken c r i t i c o f M i n i s t e r OBIANG s o n g o i n g c o r r u p t i o n
a c t i v i t i e s . When M i n i s t e r OBIANG was a p p o i n t e d t o t h e p o s i t i o n o f M i n i s t e r o f
F o r e s t r y a n d A g r i c u l t u r e , M i n i s t e r OBIANG imposed a r e v o l u t i o n a r y t a x on a l l
companies i n EG from 1997 u n t i l 2007. The i n i t i a l t a x was 10% o f t h e v a l u e o f
the export w h i c h s u b s e q u e n t l y r o s e to 20% on a l l companies t h a t were engaged
i n b u s i n e s s i n EG. As a r e s u l t o f t h e s e s e l f imposed t a x e s by M i n i s t e r
OBIANG, TOMO d e c i d e d t o speak t o P r e s i d e n t OBIANG a b o u t t h e i m p o s i t i o n o f
t h e s e t a x e s . M i n i s t e r OBIANG was extremely u p s e t t h a t TOMO chose t o i n f o r m
h i s f a t h e r . TOMO c l a i m s t h a t he l e f t EG because he f e a r e d f o r h i s p e r s o n a l
s a f e t y i n 2003.

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TOMO c l a i m s t h a t manner w h i c h t h e t a x e s were p a i d t o M i n i s t e r OBIANG was
o f t e n done b y c h e c k s o r b u l k c a s h i n s u i t c a s e s t o a n a c c o u n t under t h e name
of SOMAGUI. T h i s was a company owned by M i n i s t e r OBIANG and t h e account was
h e l d i n CCEI bank from Cameroon. TOMO c l a i m s t h a t h e had p e r s o n a l l y made
payments t o t h i s SOMAGUI a c c o u n t and was w e l l aware o f how t h e s e t a x e s needed
t o b e p a i d . SOMAGUI d i d n o t have any employees b u t had a n o f f i c e which was
v a c a n t . M i n i s t e r OBIANG r e q u i r e d o t h e r t i m b e r companies i n EG t o pay him
p e r s o n a l l y i n o r around 15,000 CFAs (approximately $27) p e r l o g i f t h e
company w i s h e d t o export from E.G.

TOMO c l a i m s t h a t a p e r s o n by t h e name of F l o r e n t i n o LNU who was r e c e n t l y
r e l e a s e d from j a i l and h i s w i f e would c l e a n t h e o f f i c e s e v e r y 6 months o r s o .
TOMO c l a i m s t h a t he p a i d a t o t a l o f a p p r o x i m a t e l y $700,000 CFA F r a n c s between
1998 and 2003.
TOMO was n o t i n p o s s e s s i o n o f any documents t h a t s u p p o r t h i s c l a i m s t h a t h e
d e p o s i t e d money i n the SOMAGUI account because he h a d t o f l e e EG i n t h e
middle o f t h e n i g h t i n 2003 a s a r e s u l t o f h i s p e r s o n a l s a f e t y . As a m a t t e r
of f a c t , on t h e n i g h t t h a t he f l e d EG, M i n i s t e r OBIANG h a d m i l i t a r y o f f i c i a l s
respond t o and e n t e r TOMO's r e s i d e n c e and r a n s a c k h i s home, s e i z i n g a l l o f
t h e documents r e l a t i n g t o Tomo's b u s i n e s s e s .

TOMO c l a i m s t h a t he has spoken t o French o f f i c i a l s who a r e i n v e s t i g a t i n g
M i n i s t e r OBIANG a t t h e F r e n c h Embassy i n Madrid, S p a i n .            TOMO was not w i l l i n g
t o r e l e a s e t h e names of t h e o f f i c i a l s who a r e i n v e s t i g a t i n g because t h e
s e c r e t n a t u r e o f t h e i r i n v e s t i g a t i o n s . However, TOMO would be w i l l i n g t o
p r o v i d e t h e names o f t h e i n v e s t i g a t o r s n e x t week.

TOMO c l a i m s t h a t M i n i s t e r OBIANG would open t i m b e r companies and p l a c e t h e
companies u n d e r t h e c o n t r o l o f SOMAGUI. M i n i s t e r OBIANG would then s e l l t h e
a s s e t s o f t h e s e t i m b e r companies t o a M a l a y s i a n company named SHIMMER
INTERNATIONAL ( S I ) . A f t e r s e l l i n g t h e timber t o S I , M i n i s t e r OBIANG gave S I
open a c c e s s t o t h e n a t i o n a l p a r k s so S I c o u l d h a r v e s t t h e timber. S I would
pay M i n i s t e r OBIANG 3 0 m i l l i o n CFAs f o r 30 c u b i c meters o f t i m b e r t h a t S I
harvested.          S I was even g i v e n a c c e s s t o p r o t e c t e d f o r e s t r e s e r v e s and a l l o w e d
t o c u t down t i m b e r without h a v i n g t o r e s p e c t EG f o r e s t r y laws.

TOMO i n s i s t t h a t companies who r e f u s e d t o pay M i n i s t e r OBIANG were p r e v e n t e d
from e x p o r t i n g t h e i r t i m b e r from t h e P o r t of B a t a , where a l l o f EG's t i m b e r
i s o r i g i n a t e d . A d d i t i o n a l l y , companies t h a t d i d n o t p a y t h e s e f e e s i n c u r r e d
a d d i t i o n a l o p e r a t i o n a l expenses o f up t o $5,000 p e r d a y f o r any d e l a y s .
TOMO c l a i m s t h a t h e was aware o f t h e s e f i n a n c i a l terms b e c a u s e he p e r s o n a l l y
knew t h e S I G e n e r a l D i r e c t o r HUNG and HUNG t o l d TOMO o f t h e f i n a n c i a l
arrangements t h a t S I had w i t h M i n i s t e r OBIANG.


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TOMO c l a i m s t h a t a S a n t i a g o I s a a c HANNA, who owned a t i m b e r company c a l l e d
ABM, h a d h i s company t a k e n from him by M i n i s t e r Obiang. HANNA was a S p a n i s h
national.        I n 1996, M i n i s t e r Obiang r e q u i r e d HANNA t o s e l l him ABM f o r a
t h i r d o f i t s f a i r market v a l u e .      A f t e r t a k i n g t h e company. M i n i s t e r Obiang
had HANNA a r r e s t e d f o r f r a u d .      HANNA was o n l y r e l e a s e d a f t e r he p a i d M i n i s t e r
Obiang a n o t h e r $3 m i l l i o n i n c i v i l p e n a l t i e s . M i n i s t e r Obiang t h e n s o l d
ABM's a s s e t s t o S I f o r i n f l a t e d p r i c e s .
TOMO c l a i m e d he was w i l l i n g t o meet w i t h i n v e s t i g a t o r s i n Madrid, S p a i n o r
the U n i t e d S t a t e s . TOMO d i d n o t have any i s s u e s about i n v e s t i g a t o r s u s i n g h i s
name i n a p u b l i c document a s he d i d n o t f e e l t h e r e would be any r i s k t o h i s
personal safety.

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